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Form 211

                                    UNITED STATES BANKRUPTCY COURT
                                                   Middle District of North Carolina
                                                      101 S. Edgeworth Street
                                                       Greensboro, NC 27401


                                                                                       Bankruptcy Case No.: 12−81181
IN THE MATTER OF:
Tonya Gail McCrae xxx−xx−2577
fka Tonya McCrae McKnight
809 Beebe Drive
Durham, NC 27713

   Debtor(s)

                                                            FINAL DECREE


   IT APPEARING that the Chapter 13 Standing Trustee has filed the Final Report for the above referenced case; that notice has been
given to the Bankruptcy Administrator and parties in interest pursuant to Rule 5009; that the Court has ruled on objections, if any, filed to
the Final Report; and that the estate has been fully administered; it is therefore
   ORDERED that Richard M. Hutson II , Standing Trustee, shall be, and hereby is, discharged in this case; and it is further

   ORDERED that the above−named case be, and hereby is, closed.




Dated: 7/18/13
